     Case 3:16-md-02741-VC            Document 20435         Filed 04/01/25       Page 1 of 1




                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        ORDER DENYING MONSANTO'S
                                                    RENEWED MOTION FOR SUMMARY
   Agosta v. Monsanto Co.,                          JUDGMENT
   Case No. 3:21-cv-06562-VC
                                                    Re: Dkt. No. 20322, 20363



       In light of Pretrial Order No. 321, the plaintiff will be able to call Dr. Kothari to opine on

specific causation. See Dkt. No. 20393. Accordingly, Monsanto’s renewed motion for summary

judgment is denied, and the parties’ stipulation staying briefing is deemed moot.

       IT IS SO ORDERED.

Dated: April 1, 2025
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
